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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT COURT OF OREGON
                               PORTLAND DIVISION


CONNER SLEVIN,                               *
an individual,                               *
                                             *
       PLAINTIFF,                            *
v.                                           *
                                             *     Case No._______________
LCM PROPERTIES, LLC,                         *
a limited liability company,                 *
                                             *
       DEFENDANT.                            *
                                             *




                                         COMPLAINT

           Plaintiff CONNER SLEVIN (“SLEVIN” or “Plaintiff”) hereby sues Defendant, LCM
PROPERTIES, LLC, a limited liability company, (hereinafter “Defendant”) pursuant to the
Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its implementing
regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as
follows:
                                PRELIMINARY STATEMENT


                      1.       Though not required by the ADA, Plaintiff attempted to resolve
       this matter prior to filing the present complaint but was unable to do so.
                      2.       Defendant’s ADA violations create real and significant barriers to
       entry for disabled persons such as Plaintiff. Pursuant to Title III of the ADA, Plaintiff
       seeks declaratory and injunctive relief requiring Defendant to (1) remedy the violations
       identified herein and (2) enact and adhere to a policy that ensures the proper maintenance
       of the property to avoid future ADA violations.
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                         JURISDICTION AND PARTIES


                3.      This is an action for declaratory and injunctive relief pursuant to
Title III of the ADA. This Court is vested with original jurisdiction over the action
pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. §
12181 et seq., based upon Defendant’s, LCM PROPERTIES, LLC’s, failure to remove
physical barriers to access and violations of Title III of the ADA.
                4.      Venue is properly located in the DISTRICT COURT OF
OREGON IN THE PORTLAND DIVISION pursuant to 28 U.S.C. § 1391(b) because
venue lies in the judicial district of the property situs or the judicial district in which a
substantial part of the events or omissions giving rise to Plaintiff’s claims occurred. The
Defendant’s property is located in and does business within this judicial district and all
events giving rise to this lawsuit occurred in this judicial district.
                5.      Plaintiff, CONNER SLEVIN, is and has been at all times relevant
to the instant matter, a natural person residing in Oregon and is sui juris.
                6.      Plaintiff is an individual with disabilities as defined by the ADA.
                7.      Plaintiff is substantially limited in performing one or more major
life activities, including but not limited to: walking and standing.
                8.      Plaintiff uses a wheelchair for mobility purposes.
                9.      Plaintiff is also an independent advocate of the rights of similarly
situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil
rights, monitoring, determining and ensuring whether places of public accommodation
are in compliance with the ADA. Plaintiff’s motivation to return to a location, in part,
stems from a desire to utilize ADA litigation to make his home community more
accessible for Plaintiff and others; and pledges to do whatever is necessary to create the
requisite standing to confer jurisdiction upon this Court so an injunction can be issued
correcting the numerous ADA violations on the Subject Property, including returning to
the Subject Property as soon as it is accessible (“Advocacy Purposes”).
                10.     Defendant, LCM PROPERTIES, LLC, is a limited liability
company conducting business in the State of Oregon and within this judicial district.
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                              FACTUAL ALLEGATIONS
               11.     On or about October of 2022, Plaintiff attempted to but was
deterred from patronizing and/or gaining equal access as a disabled patron to the Papa
Murphy's Restaurant located at 3335 SE 82nd Ave. Portland, OR 97266 (“Subject
Facility”, “Subject Property”).
               12.     LCM PROPERTIES, LLC is the owner, lessor, and/or
operator/lessee of the real property and improvements that are the subject of this action,
specifically the Papa Murphy's Restaurant and its attendant facilities, including vehicular
parking and common exterior paths of travel within the site identified by the Multnomah
County Assessor parcel identification number R333235 (“Subject Facility”, “Subject
Property”).
               13.     Plaintiff lives within thirty (30) miles of the Subject Property.
Because the Subject Property is located on SE 82nd Ave, a Multnomah County
thoroughfare that he frequents routinely, he is routinely where the Subject Property is
located and travels in and about the immediate area of the Subject Property numerous
times every month, if not every week.
               14.      Plaintiff’s access to the Subject Property and/or full and equal
enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations offered therein were denied and/or limited because of his disabilities,
and he will be denied and/or limited in the future unless and until Defendant, LCM
PROPERTIES, LLC, is compelled to remove the physical barriers to access and correct
the ADA violations that exist at the Subject Property, including those set forth in this
Complaint.
               15.     Plaintiff has visited, i.e. attempted to patronize, the Subject
Property on multiple prior occasions, and at least once before as a patron and advocate
for the disabled. Plaintiff intends on revisiting the Subject Property within six months of
the filing of this Complaint or sooner, as soon as the barriers to access detailed in this
Complaint are removed. The purpose of the revisit is to be a regular patron, to determine
if and when the Subject Property is made accessible, and to maintain standing for this
lawsuit for Advocacy Purposes.
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                 16.   Plaintiff intends on revisiting the Subject Property to enjoy the
same experiences, goods, and services available to Defendant’s non-disabled patron as
well as for Advocacy Purposes, but does not intend to continue to repeatedly re-expose
himself to the ongoing barriers to equal access and engage in the futile gesture of
attempting to patronize the Subject Property, a business of public accommodation known
to Plaintiff to have numerous and continuing barriers to equal access for wheelchair
users.
                 17.   Plaintiff recently traveled to the Subject Property as a patron and
as an independent advocate for the disabled, encountered and/or observed the barriers to
access that are detailed in this Complaint, engaged those barriers where physically
possible, suffered legal harm and legal injury, and will continue to suffer such harm and
injury as a result of the illegal barriers to equal access present at the Subject Property.


                   COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                        (Against Defendant for ADA Violations)


                 18.   The effective date of Title III of the ADA was January 26, 1992 (or
January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of
$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).
                 19.   The Subject Property is a public accommodation and service
establishment.
                 20.   Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26,
1991, the Department of Justice and Office of Attorney General promulgated federal
regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.
                 21.   Public accommodations were required to conform to these
regulations by January 26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer
employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. §
36.508(a).
                 22.   The Subject Property must be, but is not, in compliance with the
ADA and the ADAAG.
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               23.     Plaintiff has attempted to, and has to the extent possible, accessed
the Subject Property in his capacity as a patron at the Subject Property and as an
independent advocate for the disabled, but could not fully do so because of his disabilities
resulting from the physical barriers to access, dangerous conditions and ADA violations
that exist at the Subject Property that preclude and/or limit his access to the Subject
Property and/or the goods, services, facilities, privileges, advantages and/or
accommodations offered therein, including those barriers, conditions and ADA violations
more specifically set forth in this Complaint.
               24.     Plaintiff intends to visit the Subject Property again in the very near
future as a patron and as an independent advocate for the disabled, in order to utilize all
of the goods, services, facilities, privileges, advantages and/or accommodations
commonly offered to able-bodied patrons of the Subject Property but will be unable to
fully do so because of his disability and the physical barriers to access, dangerous
conditions and ADA violations that exist at the Subject Property that preclude and/or
limit his access to the Subject Property and/or the goods, services, facilities, privileges,
advantages and/or accommodations offered therein, including those barriers, conditions
and ADA violations more specifically set forth in this Complaint.
               25.     Defendant, LCM PROPERTIES, LLC, has discriminated against
Plaintiff (and others with disabilities) by denying his access to, and full and equal
enjoyment of the goods, services, facilities, privileges, advantages and/or
accommodations of the Subject Property, as prohibited by, and by failing to remove
architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).
               26.     Defendant, LCM PROPERTIES, LLC, will continue to
discriminate against Plaintiff and others with disabilities unless and until LCM
PROPERTIES, LLC is compelled to remove all physical barriers that exist at the Subject
Property, including those specifically set forth herein, and make the Subject Property
accessible to and usable by Plaintiff and other persons with disabilities.
               27.     A specific list of unlawful physical barriers, dangerous conditions
and ADA violations which Plaintiff experienced and/or observed that precluded and/or
limited Plaintiff’s access to the Subject Property and the full and equal enjoyment of the
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goods, services, facilities, privileges, advantages and accommodations of the Subject
Property include, but are not limited to:


                       ACCESSIBLE ROUTES/PARKING
                                     (Exterior)


               a.      The paint delineating the designated accessible parking space and
               access aisle is not being maintained so that it clearly marks the accessible
               parking location in violation of 28 CFR § 36.211, Section 4.6 of the 1991
               ADAAG, and Section 502.3.3 of the 2010 ADAAG. These violations made
               it dangerous for Plaintiff to utilize the parking facility at the Subject
               Property and caused Plaintiff loss of opportunity.


               b.      The accessible entrance does not provide the minimum requisite
               level maneuvering clearance for a forward approach to the pull side of the
               designated accessible entry door in violation of Section 4.13.6 of the 1991
               ADAAG and Section 404.2.4 of the 2010 ADAAG. These violations made
               it dangerous for Plaintiff to utilize the parking facility at the Subject
               Property and caused Plaintiff loss of opportunity.


               c.      The plaintiff could not safely utilize the parking facility because the
               designated accessible parking space is not level in all directions because of
               Defendant’s practice of failing to inspect and maintain the parking surface
               in violation of 28 CFR § 36.211, Section 4.6.3 of the 1991 ADAAG and
               Section 502.4 of the 2010 ADAAG. These violations made it dangerous for
               Plaintiff to utilize the parking facility at the Subject Property and caused
               Plaintiff loss of opportunity.


               d.      The plaintiff could not safely utilize the parking facility because the
               accessible aisle is not level in all directions because of Defendant’s practice
               of failing to inspect and maintain the parking surface in violation of 28 CFR
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          § 36.211, Section 4.6.3 of the 1991 ADAAG and Section 502.4 of the 2010
          ADAAG. These violations made it dangerous for Plaintiff to utilize the
          parking facility at the Subject Property and caused Plaintiff loss of
          opportunity.


          e.     The curb ramp leading to the entrance of the Subject Property from
          the parking facility has flared sides, which are steeper than 1:10. This is in
          violation of 28 CFR § 36.211, 4.7.5 of the 1991 ADAAG, and 406.3 of 2010
          ADAAG. These violations made it dangerous for Plaintiff to utilize the
          parking facility at the Subject Property and caused Plaintiff loss of
          opportunity.


          f.     The ramp to the accessible entrance (the only means of access to
          wheelchair users) has a run which exceeds the maximum slope requirement
          (8.33%) set forth in Section 4.7.2 of the 1991 ADAAG and Section 406.1
          of the 2010 ADAAG. These violations made it dangerous for Plaintiff to
          utilize the parking facility at the Subject Property and caused Plaintiff loss
          of opportunity.


          g.     The access aisle adjacent to the designated accessible space has a
          curb ramp projecting into it and/or has surfaces which are otherwise not
          level in all directions in violation of 28 CFR § 36.211, Section 4.6.3 of the
          1991 ADAAG and Section 502.4 of the 2010 ADAAG. These violations
          made it dangerous for Plaintiff to utilize the parking facility at the Subject
          Property and caused Plaintiff loss of opportunity.


          h.     There is broken, cracked and unlevel pavement within the purported
          accessible route from the entrance of the subject facility to the public
          sidewalk in violation of Section 4.3.2 of the 1991 ADAAG and Section
          206.2.1 of the 2010 ADAAG. These violations made it dangerous for
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          Plaintiff to utilize the parking facility at the Subject Property and caused
          Plaintiff loss of opportunity.


                      MAINTENANCE PRACTICES


          i.     Defendant has a practice of failing to maintain the accessible
          features of the facility, creating barriers to access for the Plaintiff, as set
          forth herein, in violation of 28 CFR § 36.211. This practice prevented access
          to the plaintiff equal to that of Defendant’s able-bodied customers causing
          Plaintiff loss of opportunity.


          j.     Defendant has a practice of failing to maintain the accessible
          elements at the Subject Facility by neglecting its continuing duty to review,
          inspect, and discover transient accessible elements which by the nature of
          their design or placement, frequency of usage, exposure to weather and/or
          other factors, are prone to shift from compliant to noncompliant so that said
          elements may be discovered and remediated. Defendant failed and
          continues to fail to alter its inadequate maintenance practices to prevent
          future recurrence of noncompliance with dynamic accessible elements at
          the Subject Facility in violation of 28 CFR § 36.211, the 1991 ADAAG,
          and the 2010 ADAAG. These violations, as set forth hereinabove, made it
          impossible for Plaintiff to experience the same access to the goods, services,
          facilities, privileges, advantages and accommodations of the Subject
          Facility as Defendant’s able-bodied patrons and caused Plaintiff loss of
          opportunity.


          k.     Defendant has failed to modify its discriminatory maintenance
          practices to ensure that, pursuant to its continuing duty under the ADA, the
          Subject Property remains readily accessible to and usable by disabled
          individuals, including Plaintiff, as set forth herein, in violation of 28 CFR §
          36.302 and 36.211. This failure by Defendant prevented access to the
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               plaintiff equal to that of Defendant’s able-bodied customers causing
               Plaintiff loss of opportunity.


               28.     The discriminatory violations described above are not an
exhaustive list of the Defendant’s current barriers to equal access and violations of the
ADA because Plaintiff was unable to access and assess all areas of the subject premises
due to the architectural barriers encountered. A complete list of the subject location’s
ADA violations affecting the Plaintiff as a wheelchair user, and the remedial measures
necessary to remove same, will require an on-site inspection by Plaintiff’s representatives
pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff personally encounters
discrimination, as alleged above, or learns of discriminatory violations through expert
findings of personal observation, he has actual notice that the defendant does not intend
to comply with the ADA.
               29.     The Defendant has a practice of failing to maintain the accessible
elements at the Subject Property by neglecting its continuing duty to review, inspect, and
discover transient accessible elements which by the nature of its design or placement,
frequency of usage, exposure to weather and/or other factors, are prone to shift from
compliant to noncompliant, so that said elements are discovered and remediated.
Defendant failed and continues to fail to alter its inadequate maintenance practices to
prevent future recurrence of noncompliance with dynamic accessible elements at the
Subject Property in violation of 28 CFR §§ 36.202 and 36.211. These violations, as
referenced hereinabove, made it impossible for Plaintiff, as a wheelchair user, to
experience the same access to the goods, services, facilities, privileges, advantages and
accommodations of the Subject Property as Defendant’s able-bodied patrons.
               30.     Accessible elements at the Subject Property have been altered
and/or constructed since 2010.
               31.     The foregoing violations are violations of the 1991 ADAAG, and
the 2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the
2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of the
alleged violations set forth herein can be modified to comply with the 1991 ADAAG
standards.
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               32.     The removal of the physical barriers, dangerous conditions and
ADA violations alleged herein is readily achievable and can be accomplished and carried
out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. §
12181(9); 28 C.F.R. § 36.304.
               33.     Each of the violations alleged herein is readily achievable to
modify to bring the Subject Property into compliance with the ADA.
               34.     Removal of the physical barriers and dangerous conditions present
at the Subject Property is readily achievable because of the site conditions at the Subject
Property, the structural design of the subject facility, and the straightforward nature of the
necessary modifications.
               35.     To assist businesses in offsetting the costs associated with
complying with the ADA and removing barriers to access for individuals with
disabilities, Section 44 of the IRS Code provides a tax credit for small business owners,
and Section 190 of the IRS Code provides a tax deduction for all business owners,
including the Defendant.
               36.     Removal of the physical barriers and dangerous conditions at the
Subject Property is readily achievable because of the relative low cost of the necessary
modifications and the Defendant has the financial resources to make the modifications,
including the financial assistance made available to Defendant by the government
pursuant to Section 44 and/or Section 190 of the IRS Code.
               37.     By continuing to maintain and/or operate the Subject Property with
discriminatory conditions in violation of the ADA, Defendant contributes to Plaintiff’s
sense of isolation and segregation and deprives Plaintiff of the full and equal enjoyment
of the goods, services, facilities, privileges, and accommodations available to able bodied
individuals of the general public.
               38.     Defendant is required to remove the existing architectural barriers
to the physically disabled when such removal is readily achievable for its places of public
accommodation that have existed prior to January 26, 1992, 28 CFR 36.304(a);
additionally, if there has been an alteration to Defendant’s place of public
accommodation since January 26, 1992, then Defendant is required to ensure to the
maximum extent feasible, that the altered portions of the facility are readily accessible to
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and usable by individuals with disabilities, including people who use wheelchairs, 28
CFR 36.402; and finally, if the Defendant’s facilities were designed and constructed for
first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the
Defendant’s facilities must be readily accessible to and useable by individuals with
disabilities as defined by the ADA. To date, Defendant has failed to comply with this
mandate.
                39.    Plaintiff is without adequate remedy at law and is suffering
irreparable harm and reasonably anticipates that he will continue to suffer irreparable
harm unless and until Defendant, LCM PROPERTIES, LLC, is required to remove the
physical barriers, dangerous conditions and ADA violations that exist at the Subject
Property, including those alleged herein. Considering the balance of hardships between
the Plaintiff and Defendant, a remedy in equity is warranted.
                40.    Plaintiff’s requested relief serves the public interest.
                41.    Plaintiff’s counsel is entitled to recover his reasonable attorneys’
fees and costs of litigation from Defendant, LCM PROPERTIES, LLC, pursuant to 42
U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal
access to the subject premises, as provided by the ADA unless the injunctive relief
requested herein is granted.
                42.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the
authority to grant Plaintiff injunctive relief; including an Order to alter the subject
facilities to make them readily accessible to, and useable by, individuals with disabilities
to the extent required by the ADA, and closing the subject facilities until the requisite
modifications are completed, and ordering Defendant to fulfill its continuing duty to
maintain the accessible features at the premises in the future as mandated by 28 CFR
36.211.


     WHEREFORE, the Plaintiff prays as follows:
1.   That the Court find Defendant, LCM PROPERTIES, LLC, in violation of the ADA
     and ADAAG;
2. That the Court enter an Order requiring Defendant, LCM PROPERTIES, LLC, to (i)
     remove the physical barriers to access and (ii) alter the Subject Property to make the
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            Subject Property readily accessible to and useable by individuals with disabilities to
            the full extent required by Title III of the ADA;
       3. That the Court enter an Order directing Defendant, pursuant to 28 C.F.R. §36.211, to
            fulfill its continuing duty to maintain its accessible features and equipment so that the
            facility remains accessible to and useable by individuals with disabilities to the full
            extent required by Title III of the ADA;
       4. That the Court enter an Order directing Defendant to implement and carry out effective
            policies, practices, and procedures to maintain the accessible features and equipment
            pursuant to 28 C.F.R. §36.302 and 28 C.F.R. §36.211.
       5.   That the Court enter an Order directing Defendant to evaluate and neutralize its
            policies and procedures towards persons with disabilities for such reasonable time so
            as to allow them to undertake and complete corrective procedures;
       6.    An award of attorneys’ fees, costs (including expert fees), and litigation expenses
            pursuant to 42 U.S.C. § 12205 and an award of monitoring fees associated with insuring
            that the Defendant is in compliance with the ADA.
       7. An award of interest upon the original sums of said award of attorneys’ fees, costs
            (including expert fees), and other expenses of suit; and
       8.   Such other relief as the Court deems just and proper, and/or is allowable under Title
            III of the Americans with Disabilities Act.

Dated this October 16, 2023

                                       Respectfully submitted,

                                       By: /s/ Jessica Molligan____________
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